                ABU ALI ABDUR'RAHMAN, ET AL. vs. TONY PARKER, ET AL.
                               Tony Mays on 06/04/2018                                   ·




 · · · · · IN THE CHANCERY COURT
 · · · FOR DAVIDSON COUNTY, TENNESSEE

 ABU ALI ABDUR'RAHMAN, )
 et al,· · · · · · · · )
 · · · · · · · · · · · )
 · · · ·Plaintiffs,· · )
 · · · · · · · · · · · )
 vs.· · · · · · · · · ·)· NO. 18-183-II(III)
 · · · · · · · · · · · )
 TONY PARKER, et al,· ·)
 · · · · · · · · · · · )
 · · · ·Defendants.· · )
 ______________________)




 · · · ·Deposition of:

 · · · ·TONY MAYS

 · · · ·Taken on behalf of the Plaintiffs

 · · · ·June 4, 2018




 _____________________________________________

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 ·1· ·exact date.· I'm asking if you can recall the
 ·2· ·month that you inventoried them.
 ·3· ·A.· · ·I can't recall.
 ·4· ·Q.· · ·Do you know if there are any lethal
 ·5· ·injection chemicals in the custody of TDOC
 ·6· ·right now anywhere other than Riverbend
 ·7· ·prison?
 ·8· ·A.· · ·I would not know that.
 ·9· ·Q.· · ·Without naming names, do you know if
 10· ·there is a person who would know that?
 11· ·A.· · ·I don't.
 12· ·Q.· · ·You indicated that you believe some of
 13· ·the chemicals that you have on hand at
 14· ·Riverbend would expire before August 8th.
 15· · · · · Do you have a source or do you know if
 16· ·TDOC has a source from which to obtain more
 17· ·chemicals?
 18· ·A.· · ·I wouldn't know that.
 19· ·Q.· · ·Without naming names, do you know of a
 20· ·person in TDOC who would know that?
 21· ·A.· · ·I don't know that.
 22· ·Q.· · ·I'd like you, please, Warden Mays, to
 23· ·turn to Page 35 in the manual.
 24· · · · · The top of that page reads Protocol A:
 25· ·Procurement, Storage, Accountability, and

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 ·1· ·Q.· · ·Okay.· Thank you.· Are you familiar
 ·2· ·with the phrase "paradoxical effect" in
 ·3· ·regards to Midazolam?
 ·4· ·A.· · ·No.
 ·5· ·Q.· · ·Have you or any of the TDOC employees
 ·6· ·who were on the execution team been trained
 ·7· ·to recognize signs of a paradoxical effect
 ·8· ·from Midazolam?
 ·9· · · · · · · ·MR. SUTHERLAND:· Asked and
 10· ·answered.· He said he's not familiar.
 11· · · · · · · ·MR. DEL PINO:· Doesn't mean he
 12· ·hasn't been trained in what to do about it.
 13· · · · · · · ·THE WITNESS:· In regards to me,
 14· ·no.· I can't speak in regard to anyone else.
 15· ·BY MR. DEL PINO:
 16· ·Q.· · ·Are there any safeguards in place to
 17· ·deal with paradoxical effect as a result of
 18· ·Midazolam?
 19· ·A.· · ·Not that I'm aware of.
 20· ·Q.· · ·If an inmate became agitated instead
 21· ·of sedate after being injected with
 22· ·Midazolam, does the protocol instruct you
 23· ·what to do?
 24· ·A.· · ·Define that.
 25· ·Q.· · ·Hyperactive, anxious.

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 ·1· ·A.· · ·I continue to follow with the protocol
 ·2· ·procedures.
 ·3· ·Q.· · ·I would like to show you, Warden,
 ·4· ·Mays, what is Exhibit B to the plaintiffs'
 ·5· ·amended complaint and ask you to please take
 ·6· ·a look at this and read it.· Let me know if
 ·7· ·you've ever seen it before.
 ·8· ·A.· · ·Okay.
 ·9· ·Q.· · ·Have you ever seen this email before?
 10· ·A.· · ·Yes.
 11· ·Q.· · ·When did you see this email?
 12· ·A.· · ·Counsel showed it to me.
 13· ·Q.· · ·And when was that?
 14· ·A.· · ·Probably about a week ago.
 15· ·Q.· · ·Was that the first time you ever saw
 16· ·this email?
 17· ·A.· · ·First time.
 18· ·Q.· · ·The subject of this email or what is
 19· ·discussed in this email is Midazolam not
 20· ·preventing an inmate from feeling pain from
 21· ·the second and third drugs in lethal
 22· ·injection Protocol B.
 23· · · · · Has anyone ever discussed that with
 24· ·you?· And please don't name names.· It's yes
 25· ·or no.

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